     Case 2:13-cr-06070-SAB    ECF No. 113       filed 11/27/24   PageID.365          Page 1 of
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                                                                            FILED IN THE
 1                                                                      U.S. DISTRICT COURT
                                                                  EASTERN DISTRICT OF WASHINGTON

 2
                                                                   Nov 27, 2024
 3                                                                     SEAN F. MCAVOY, CLERK


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 6
                        UNITED STATES DISTRICT COURT
 7
                      EASTERN DISTRICT OF WASHINGTON
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 9
     UNITED STATES OF AMERICA,
10
                              Plaintiff,           No. 2:13-CR-06070-SAB-1
11
           v.
12
     KENNETH RICHARD ROWELL,                       ORDER CONTINUING
13
                              Defendant.           SUPERVISED RELEASE
14
                                                   REVOCATION HEARING
15
16
17        Before the Court is Defendant’s Unopposed Motion for Continuance of
18 Revocation Hearing, ECF No. 112. Defendant is represented by Andrew Wagley.
19 The Government is represented by Brandon Pang. The motion was considered
20 without oral argument.
21        Defendant moves the Court to continue the supervised release revocation
22 hearing in the above-mentioned matter to allow time to confer with counsel and
23 indicates the Government does not object. Good cause exists to grant the motion.
24        Accordingly, IT IS HEREBY ORDERED:
25        1.    Defendant’s Unopposed Motion for Continuance of Revocation
26 Hearing, ECF No. 112, is GRANTED.
27 //
28 //
     ORDER CONTINUING SUPERVISED RELEASE REVOCATION
     HEARING # 1
     Case 2:13-cr-06070-SAB     ECF No. 113       filed 11/27/24   PageID.366   Page 2 of
                                              2


 1        2.     The supervised release revocation hearing set for December 3, 2024,
 2 is STRICKEN and RESET to February 25, 2025, at 10:30 a.m. in Yakima,
 3 Washington.
 4        IT IS SO ORDERED. The District Court Clerk is hereby directed to enter
 5 this Order and provide copies to counsel and U.S. Probation.
 6        DATED this 27th day of November 2024.
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12                                  Stanley A. Bastian
                              Chief United States District Judge
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     ORDER CONTINUING SUPERVISED RELEASE REVOCATION
     HEARING # 2
